Case 6:22-cv-00043-NKM-RSB Document 13 Filed 09/23/22 Page1lofi Pageid#: 84
UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA

POWER HOME SOLAR, LLC, D/B/A PINK ENERGY
Plaintiff(s)

V. Civil Action No.: 6:22-cv-00043

 

 

GENERAC POWER SYSTEMS, INC.

Defendant(s)

DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER ENTITIES WITH A DIRECT FINANICAL
INTEREST IN LITIGATION

 

ONLY ONE FORM NEEDS TO BE COMPLETED FOR A PARTY EVEN IF THE PARTY IS REPRESENTED BY MORE THAN ONE ATTORNEY. DISCLOSURES MUST BE FILED ON
BEHALF OF INDIVIDUALS AS WELL AS CORPORATIONS AND OTHER LEGAL-ENTITIES. COUNSEL HAS A CONTINUING DUTY TO UPDATE THIS INFORMATION.

IF YOU ANSWER "YES" TO ANY OF THE FOLLOWING QUESTIONS, THIS STATEMENT MUST BE FILED IN ECF AS A POSITIVE CORPORATE DISCLOSURE STATEMENT.

Pursuant to Standing Order entered May 15, 2000.

Generac Power Systems, Inc. who is Defendant
(Name of party you represent) (Plaintiff/Defendant)

 

 

makes the following disclosure:

1. Is the party a publicly held corporation or other publicly held entity?

[]Yes [x]No
2. Does the party have any parent corporations?
[x]Yes [_]No

If yes, identify all parent corporations, including grandparent and great grandparent corporations:

(1) Generac Holdings, Inc.; (2) Generac Acquisition Corp.

3. Is 10 percent or more of the party's stock owned by a publicly held corporation or other publicly held entity?

[x]Yes [_]No

If yes, identify all such owners:

Generac Holdings, Inc.

4, Is there any other publicly held corporation or other publicly held entity that has a direct financial interest in the outcome
of the litigation?

Yes [x]No

If yes, identify all such owners:

5. Is the party a trade association?
[]Yes [x]No

If yes, identify all members of the association, their parent corporations, and any publicly held companies that own ten (10%)
percent or more of the party's stock:

/s/ Glenn Pulley September 23, 2022
(Signature) (Date)

 
